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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

       CEDRIC M. BROWN et al.,

               Plaintiffs,                                 Case No. 1:21-cv-01308

       v.

       ISLAMIC REPUBLIC OF IRAN,

               Defendant.


   PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW OPINION AND
                              ORDER
        This case involves claims under the Foreign Sovereign Immunities Act (“FSIA”) against
Iran for materially supporting terrorist activities leading to multiple different attacks in Iraq and
Afghanistan that resulted in permanent injuries to nineteen individuals. Iran has failed to respond
to the complaint, the clerk has entered a default, and Plaintiffs have moved for default judgment.

        A request for default judgment under the FSIA is governed by the statutory requirement
that “[n]o judgment by default shall be entered ... against a foreign state ... unless the claimant
establishes his claim or right to relief by evidence satisfactory to the court.” 28 U.S.C. §
1608(e); Jerez v. Republic of Cuba, 775 F.3d 419, 423 (D.C. Cir. 2014). “[T]he FSIA leaves it to
the court to determine precisely how much and what kinds of evidence the plaintiff must provide,
requiring only that it be satisfactory to the court.” Han Kim v. Democratic People's Republic of
Korea, 774 F.3d 1044, 1047 (D.C. Cir. 2014) (internal quotation marks omitted). “[I]ndeed, the
quantum and quality of evidence that might satisfy a court can be less than that normally
required.” Owens v. Republic of Sudan, 864 F.3d 751, 785 (D.C. Cir. 2017), vacated & remanded
on other grounds sub nom. by Opati v. Republic of Sudan, 140 S. Ct. 1601 (2020).

                                      FINDINGS OF FACT

        This case, unfortunately, is not the first involving Iran’s activities in supporting terrorism.
Indeed, several courts have made multiple findings of fact regarding Iran’s material support or
resources provided to foment terrorist activities in Iraq, Afghanistan and the Middle East. See
Roth v. Islamic Republic of Iran, 1:19-CV-02179-TNM, 2023 WL 196577 (D.D.C. Jan. 17, 2023);
Pennington v. Islamic Republic of Iran, No. CV 19-796 (JEB), 2022 WL 168261 (D.D.C. Jan. 19,
2022); Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48 (D.D.C. 2018); Frost v. Islamic
Republic of Iran, 383 F. Supp. 3d 33 (D.D.C. 2019); Karcher v. Islamic Republic of Iran, 396 F.
Supp. 3d 12 (D.D.C. 2019); W.A. v. Islamic Republic of Iran, 427 F. Supp. 3d 117 (D.D.C. 2019);
Karcher, CV 16-232 (CKK), 2021 WL 133507, at *1 (D.D.C. Jan. 14, 2021); Lee v. Islamic
Republic of Iran, 518 F. Supp. 3d 475 (D.D.C. 2021); Cabrera et al. v. Islamic Republic of Iran,
Case No. 1:19-cv-03835-JDB; Selig v. Islamic Republic of Iran, 573 F. Supp. 3d 40 (D.D.C. 2021);

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and Roberts v. Islamic Republic of Iran, No. 1:20-CV-1227-RCL, 2022 WL 203540, at *13
(D.D.C. Jan. 24, 2022), Estate of Christopher Brook Fischbeck et al., v. The Islamic Republic of
Iran, et al., Case No. 18-cv-2248 (CRC); and the related case Roth v. Islamic Republic of Iran,
1:19-CV-02179-TNM, 2023 WL 196577 (D.D.C. Jan. 17, 2023). Pursuant to Federal Rule of
Evidence 201(b), the court takes judicial notice of the relevant findings of fact in those prior
decisions as set forth herein.

        While relying upon the findings in the prior decisions, the court has also independently
reviewed the evidence submitted by Plaintiffs, including exhibits along with the declarations of
Plaintiffs and expert Michael P. Pregent (“Pregent”), to reach its findings of fact here. The court
finds that Pregent meets the requirements of Rule 702 for an expert witness. In fact, Pregent has
provided expert testimony in the Roth, Pennington, Frost, Karcher, W.A., and Lee cases—the very
cases from which the court has taken judicial notice of numerous findings of fact.

         Iran’s Role in the Region

        In 1979, the Supreme Leader of Iran established what became known as the Islamic
Revolutionary Guard Corps (“IRGC”), which was designed to implement the Ayatollah’s “vision
for an Islamic theocratic government in Iran.” Lee, 518 F. Supp. 3d at 482. Over the years, Iran
built up combat forces composed of religious extremists and created “a fully functional militia
backed by the Islamic Revolutionary Guard Corps-Qods Force” (“Qods Force”). 1 Id. To preserve
the ideals of the Islamic Republic, the Qods Force supports militias beyond its borders. Frost, 383
F. Supp. 3d at 39. Iran, of course, borders Iraq, Afghanistan, and Pakistan. Among other
responsibilities, the Qods Force is charged with “cultivating and supporting pro-Iran proxies” in
foreign countries and coordinating with these militant groups to conduct terrorist attacks. Fritz,
320 F. Supp. 3d at 59. The Qods Force “trains, advises and logistically supports terrorist and
insurgent movements, and performs related clandestine and covert special operation activities, on
behalf of the Iranian government.” Lee, 518 F. Supp. 3d at 482. The Qods Force is responsible to
and directed by the Supreme Leader of Iran. Frost, 383 F. Supp. 3d at 39.

        In the early 1980s, a loose network of Shia militas seeking to transform Lebanon into an
Islamic republic formed Hezbollah. Fritz, 320 F. Supp. 3d at 60. Iran and the IRGC were
“provid[ing] critical assistance to newly emerging Hezbollah, which swore an oath of fealty to
Iran.” Lee, 518 F. Supp. 3d at 483. In exchange for Hezbollah's unwavering dedication to Iran
and its revolutionary aims, Iran “bankroll[ed], arm[ed] and train[ed] Hezbollah.” Id. Hezbollah
acts mainly at the direction of Iran. Frost, 383 F. Supp. 3d at 39. “Iran provides Hezbollah with
as much as $700 million–$1 billion per year” in the form of cash, training, intelligence, and
weapons. Fritz, 320 F. Supp. 3d at 60. Hezbollah envisions itself as “the sharp end of the spear [,]
going where Iran tells it to go in defense of ... Shia [Muslims] around the world.” Fritz, 320 F.
Supp. 3d at 60. Indeed, Hezbollah has committed numerous terrorist attacks on Americans at the
behest of Iran. Fritz, 320 F. Supp. 3d at 60.

       By the early 1990s, Hezbollah started to train al-Qaeda on its tactics and techniques,
including IEDs, suicide bombings, and complex attacks and ambushes. Ex. 20a. For example, in


1
    The Qods Force is alternatively spelled Quds Force and sometimes referred to as IRGC-QF.
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1991, Ayman al Zawahiri, one of the top leaders of al-Qaeda, made a secret visit to Iran to ask for
help in al-Qaeda’s campaign to overthrow the government of Egypt. Id. While in Iran, al Zawahiri
met with Imad Mughniyah, the terrorist operations chief of Hezbollah. Id. Mughniyah was acting
as an agent of the Iranian state, where he lived for many years as he coordinated high profile
terrorist attacks around the globe. Id. During these meetings, Mughniyah convinced al-Qaeda of
the power of suicide bombing. Id. This was a change in mindset for al-Qaeda because suicide was
prohibited by most Islamic clerics, but Mughniyah justified it as an appropriate act of a jihad
warrior. Id.

        In 1993, Osama bin Laden and al Zawahiri met with Mughniyah and other Iranian officials,
including IRGC General Mohammed Baqr Zolqadr, in Khartoum, Sudan to work on details of a
terrorism alliance. Ex. 20a. Following the meeting, bin Laden sent more terrorist operatives to
Hezbollah training camps operated by Mughniyah and the IRGC both in Lebanon and Iran. Id. At
these camps, Hezbollah instructors provided al-Qaeda operatives, as well as members of various
other Islamic terrorist organizations, with training in intelligence, security, and building explosive
devices. Id. This terrorist training camp arrangement continued throughout the 1990s with
Mughniyah coordinating the activities with Iranian government officials and the IRGC-QF. Id.
The training focused on building stronger IEDs and shape charges. Id. Iran’s Supreme Leader
was aware, and approved, of the Iran-Hezbollah terrorist training program. Id.

        The Qods Force trained, equipped, and financed Shia militias in Iraq and throughout the
Middle East both directly and through Hezbollah. Frost, 383 F. Supp. 3d at 39. According to the
U.S. Department of the Treasury, the Qods Force has supported militant groups including the
Taliban, Hamas, Hezbollah, and Iraqi Shia militant groups. Fritz, 320 F. Supp. 3d at 59. By using
these groups as proxies, Iran has sought to achieve its goals in other regions while simultaneously
denying responsibility for the actions of its proxies. Fritz, 320 F. Supp. 3d at 59. The State
Department has designated Iran as a state sponsor of terrorism, and the Treasury Department has
designated the Qods Force as an entity providing support for terrorism. Fritz, 320 F. Supp. 3d at
59.

       Iraq

        Iran’s proxies were already operating in Iraq prior to 2003, when the United States and
coalition forces launched Operation Iraqi Freedom and dismantled Saddam Hussein’s regime. Lee,
518 F. Supp. 3d at 483. For example, in 2002, Abu Musab al-Zarqawi and senior al-Qaeda
operatives met with the Qods Force in Iran. Ex. 20a.

        In March 2003, the Qods Force freed many of the Sunni jihadists that Iran had been holding
captive, unleashing them against the U.S. Id. The Qods Force then provided al-Zarqawi and his
fighters funds and weapons and facilitated al-Zarqawi’s entry into the bordering Iraqi Kurdistan
and then onto Baghdad to attack U.S. forces. Ex. 20a. Al-Zarqawi recruited former Saddam
regime fighters and foreign fighters moving into Iraq from Syria—becoming al-Qaeda’s man on
the ground. Id.

        With Hussein out of power, Iran seized the “historic opportunity to reshape its relationship
with Iraq and, in the process, increase its influence in the region.” Lee, 518 F. Supp. 3d at 483.

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Iran sought to install “weakened decentralized and Shi’a-dominated” leadership in Iraq and
therefore set out to “foster unity among Iraq's various Shia parties and movements so that [it] could
consolidate Shia political control ... over the new Iraqi government.” Id.

         Iran also sought “to push the United States out of the Gulf region,” including out
of Iraq. Fritz, 320 F. Supp. 3d at 61. “If the United States were humiliated in Iraq and forced out
of the region in disgrace, the thinking went, the Americans would be deterred from pursuing
similar military interventions in the [Gulf] region in the future.” Fritz, 320 F. Supp. 3d at 61. But,
while seeking “to bloody coalition forces in Iraq,” Iran was “[c]areful not to provoke a direct
confrontation with U.S. and coalition forces” and thus “trained[ ] and funded a variety of [Shia]
militias and insurgent groups in an effort to bog down coalition forces in an asymmetric war of
attrition.” Fritz, 320 F. Supp. 3d at 61.

        To achieve that goal, Iran developed numerous Shi’a proxies with a presence in Iraq. Iran
backed the Office of the Martyr Sadr, a movement that “spoke for Iraq's disenfranchised Shi'a”
and was led by Muqtada al-Sadr. Lee, 518 F. Supp. 3d at 483. In 2003, the Office of the Martyr
Sadr opened “an armed wing” called Jaysh al-Mahdi (“JAM”). Id. Iran offered the movement
and its armed wing “financing and weapons training,” and the Qods Force “dispatched Hezbollah
operatives ... to help establish JAM and provide it with logistical assistance.” Id. Al-Sadr
ultimately split JAM into different branches to address competing priorities and developed
“Special Groups” that were specifically designed to attack American and coalition forces. Id. For
example, Al-Sadr formed Saraya al-Salam, which like previous Shia militias, received training,
weapons, and money from Iran through Hezbollah and the Quds Force to advance Iran's interests
in Iraq. Frost, 383 F. Supp. 3d at 40. Saraya al-Salam made its headquarters in the Sadr City
neighborhood of Baghdad, and it exerted exclusive control over that area. Id.

        While these Special Groups functioned independently from JAM, they were “funded,
trained and armed by” the “Qods Force operatives.” Fritz, 320 F. Supp. 3d at 62. The Special
Groups “plan[ned] and execut[ed] ... bombings, kidnappings, extortion, sectarian murders, illegal
arms trafficking[,] and other attacks” against Iraqi civilians, Iraqi forces, and coalition
forces. Fritz, 320 F. Supp. 3d at 62. The Special Groups were successful, and “the IRGC primarily
used JAM as its proxy to conduct terror operations against U.S. and Coalition Forces in Iraq.” Lee,
518 F. Supp. 3d at 483.

        Iran then recruited new leadership for a Special Group called Asayb al-Haq or “AAH.” Lee,
518 F. Supp. 3d at 483. The Supreme Leader of Iran, Ali Khomeini, “met with [Qais Khazali
in Iran] and recruited him to lead [AAH],” which was to “operate without the knowledge or
authorization of [Muqtada al-Sadr].” Fritz, 320 F. Supp. 3d at 62. AAH also “acted as an Iranian
proxy in Iraq, carrying out the IRGC's agenda and promoting its interests.” Lee, 2021 WL 325958,
at *4. Qais Khazali also met with Qods Force officers “on multiple occasions” and his brother,
Laith Khazali, effectively served as his deputy. Fritz, 320 F. Supp. 3d at 62.

       Iran directed the formation of still another militia group—Kata’ib Hezbollah (“KH” or
“Hezbollah Brigades”)—in 2007. Karcher, 396 F. Supp. 3d at 25. Since 2007, Kata’ib Hezbollah
had been “responsible for numerous terrorist acts against Iraqi, U.S., and other targets in Iraq,”



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and earned the designation as a Foreign Terrorist Organization in June 2009. Karcher, 396 F.
Supp. 3d at 25.

        Iran also provided money and weapons to al Qa’ida in Iraq (“AQI”). Ex. 20a. Iran even
negotiated prisoner releases of AQI operatives. Id. In addition, Iran supported the Assad regime
in Syria to maintain the “Shia Crescent” so it could move fighters and weapons to threaten Israeli
and American interests. Ex. 20a. Syrian intelligence officers not only facilitated al-Qaeda
operations in Iraq, but the Syrian border became the principal conduit for foreign terrorists heading
into Iraq to join AQI. Ex. 20a.

       Al-Zarqawi, al-Qaeda’s man in Iraq and the godfather of ISIS, received training and funds
from the Qods Force in Iran before moving into Afghanistan and then heading al-Qaeda’s terrorist
operations in Iraq. Ex. 20a. The Qods Force provided Zarqawi with funding, weapons, and
transportation into Iraq to target U.S. troops. Ex. 20a.

        Through Hezbollah, Iran brought operatives “into Iran for training and smuggling weapons
across the border into Iraq” and sent IRGC and Qods Force operatives to Iraq. Lee, 518 F. Supp.
3d at 483. Iran also used its resources to support EFP attacks specifically: “one of Iran's primary
forms of material support to the Special Groups was financing, manufacturing and deploying
EFPs.” Id. Iran funneled to Special Groups in Iraq EFPs that “were professionally manufactured
and specifically designed to target U.S. and Coalition Forces’ armor, such as armored patrols and
supply convoys.” Id. Iran also backed its proxies with extensive financial resources; by August
2007, Iran, through IRGC and the Qods Force, was estimated to be “providing between $750,000
and $3 million worth of equipment and funding to Special Groups every month.” Id.

        Iranian arms, funding, and operatives flowed into Iraq through the Sheibani Network and
other smuggling operations, while some Iraqi allies made the reverse trip to Iran for training.
Karcher, 396 F. Supp. 3d at 23. The Qods Force provided “Iraqi militants with Iranian-produced
advanced rockets, sniper rifles, automatic weapons, [and] mortars[,] [which] have killed thousands
of [c]oalition and Iraqi [f]orces,” as well as “explosively formed projectiles (EFPs) that have a
higher lethality rate than other types of improvised explosive devices (IEDs)... and are specially
designed to defeat armored vehicles used by [c]oalition [f]orces.” Fritz, 320 F. Supp. 3d at
63. Iran smuggled the weapons into Iraq using supply routes called “ratlines,” primarily for use
by AAH. Fritz, 320 F. Supp. 3d at 63. On the Iraqi side, both Qais and Laith Khazali were involved
in smuggling arms and artillery from Iran into Iraq. Fritz, 320 F. Supp. 3d at 63. Laith Khazali,
for example, “was instrumental in acquiring surface-to-air missiles (SAMs), RPGs, bazookas and
Stella missiles for [S]pecial [G]roups.” Fritz, 320 F. Supp. 3d at 63.

        At the behest of Iran, Hezbollah created a unit “whose sole purpose was to train Iraqi Shia
militants,” including AAH, to carry out attacks in Iraq directed at U.S. troops and others. Fritz,
320 F. Supp. 3d at 63. In 2005-06, Hezbollah ordered Ali Musa Daqduq, a senior Hezbollah
commander, to work with the Qods Force to “provide training and equipment” to the Special
Groups, and to “organize the [S]pecial [G]roups in ways that mirrored how Hezbollah was
organized in Lebanon.” Fritz, 320 F. Supp. 3d at 63. Daqduq traveled to Iraq, “met with the
commander and the deputy commander of the ... Qods Force special external operations,” and
“was directed by [the] Qods Force to make trips in and out of Iraq and [to] report on the training

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and operations of the Iraqi [S]pecial [G]roups.” Fritz, 320 F. Supp. 3d at 63-64. Daqduq
ultimately made four such trips to “monitor[ ] and report[ ] on the training and arming of [S]pecial
[G]roups in mortars and rockets, manufacturing and employment of [IEDs], and kidnapping
operations.” Fritz, 320 F. Supp. 3d at 64.

        With Hezbollah’s assistance, Iran provided “training at every level of the militant
organizations that received assistance, from foot soldier to leadership.” Fritz, 320 F. Supp. 3d at
64. The leaders of Shia militias, for example, received “administrative, logistics, financial,
religious [,] and small unit tactics leadership training.” Fritz, 320 F. Supp. 3d at 64. AAH members
were also given training in engineering, artillery, intelligence, infantry, and kidnapping. Fritz, 320
F. Supp. 3d at 64. Much of the training occurred at camps in Iran. Fritz, 320 F. Supp. 3d at 64.
The Qods Force would train “approximately 20 to 60 Iraqis at a time” in Iran and then send them
back to Iraq. Fritz, 320 F. Supp. 3d at 64. These individuals, in turn, “passed on this training to
additional militants inside Iraq,” as part of “a ‘train-the-trainer’ program.” Fritz, 320 F. Supp. 3d
at 64. The Qods Force and Hezbollah also provided training inside Iraq. Fritz, 320 F. Supp. 3d at
64.

        By 2007, the Treasury Department found that the Qods Force “provides lethal support in
the form of weapons, training, funding, and guidance to select groups of Iraqi Shi'a militants who
target and kill Coalition and Iraqi forces and innocent Iraqi civilians.” Karcher, 396 F. Supp. 3d at
24. In 2011, the State Department found that Iran was responsible for the increase of lethal attacks
on U.S. forces [in Iraq] and provided militants with the capability to assemble explosives designed
to defeat armored vehicles. Karcher, 396 F. Supp. 3d at 24.

       Afghanistan
       In addition to its activities in Iraq, Iran facilitated the movement of al-Qaeda operatives
into Afghanistan and provided them with documents, identification cards, and passports. Ex. 20a.
Iran was a transit point for moving money, arms, and fighters to Pakistan and Afghanistan. Id.
        According to the U.S. Department of the Treasury, the Qods Force has supported militant
groups including the Taliban. Fritz, 320 F. Supp. 3d at 59. The Qods Force is Iran’s primary
instrument for providing lethal aid to the Taliban. Ex. 20a. The Qods Force provides weapons
and financial support to the Taliban to support anti-U.S. and anti-Coalition activity in Afghanistan.
Id.
         Iran has arranged frequent shipments of small arms and associated ammunition, rocket
propelled grenades, mortar rounds, 107mm rockets, plastic explosives, and man-portable defense
systems to the Taliban. Ex. 20a. The Taliban have conducted training in Iran too. Id. The Qods
Force Ansar Corps, the IRGC command responsible for operations in Afghanistan, trained Taliban
elements on small unit tactics, small arms, explosives, and indirect fire weapons, such as mortars,
artillery, and rockets. Id. General Hossein Musavi was the commander of The Ansar Corps, which
supported operations in Afghanistan. Id. In addition to supplying weapons, Iran has trained the
Taliban in Iran on small unit tactics to include ambushes, mortar and rocket attacks, IEF, EFPs,
sniper operations, and kidnapping operations. Id.




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       The Attacks

        Attack #1 (June 24, 2004, Baqubah, Iraq) – Plaintiff Trelain Allen Whiting (“Whiting”)
is a national of the United States and served in the Army National Guard – North Carolina. Ex.
19. On June 24, 2004, Whiting and his unit were traveling in a convoy of Bradley Fighting
Vehicles in Baqubah, Iraq. Id. As the convoy neared the Mufrek Traffic Circle, they were
ambushed by machine gun rounds, RPGs, mortars, and a daisy chain of IEDs. Id. A firefight
ensued, requiring additional U.S. forces. Id. Whiting sustained shrapnel wounds, gunshot wounds,
burns, vision loss, traumatic brain injury, hearing loss, and PTSD. Ex. 19. During this attack, a
fellow soldier in his unit, Daniel Desens, Jr. (“Desens”), was killed. Ex. 19 (See Exhibit D of
Whiting’s Declaration). 2

        In the related case, Roth v. Islamic Republic of Iran, 1:19-CV-02179-TNM, 2023 WL
196577 (D.D.C. Jan. 17, 2023), this Court already found that Iran was liable for Attack #1, which
is the same attack that is also labeled “Attack #1” in the present matter. See Exhibit 73; Roth,
2023 WL 196577, at *6-7, 17 (D.D.C. Jan. 17, 2023). Whiting, Plaintiff in this matter, was injured
in this attack along with 14 other Soldiers who were plaintiffs in the Roth matter. Therefore,
Defendant’s material support was a substantial factor leading to Attack #1.

         Attack #2 (August 24, 2004, Husaybah, Al Anbar, Iraq). Plaintiff Michael S. Nimtz
(“Nimtz”) is a national of the United States and served in the Marine Corps. Ex. 10. On August
24, 2004, Nimtz and his unit were in a convoy in, or around the Al Anbar Province, Iraq when
their lead vehicle hit an IED, thereby exposing them to the blast from the IED detonation. Id. After
the attack, Nimtz and his unit repelled the enemy, secured the area, and medevacked the injured
Marines. Id. Nimtz sustained a mood disorder, migraines, tinnitus, and planter fasciitis. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #2. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #2. Id.

        Attack #3 (November 15, 2006, Baghdad, Iraq). Plaintiff Robert A. Chapman
(“Chapman”) is a national of the United States who was employed as a Federal Civilian Employee
of the U.S. Department of Justice as a Chief Administrative Officer, Supervisory Contract
Specialist and Senior Federal Law Enforcement Officer (Special Deputy U.S. Marshall (SOG).
Ex. 3a. From approximately August of 2005 to December 17, 2006, Chapman was assigned to the
U.S. Embassy in Baghdad, Iraq and charged with providing security, prisoner escort, and witness
protection services. Id. On November 18, 2005, Chapman responded to an attack involving tow
suicide bombers who detonated cars laden with Vehicle Borne IEDs (VBIED) near the al Hamra
hotel and interior ministry complex in the Al Jadriyah district, in central Baghdad. Id. On that day,
Chapman utilized his skills as an EMT to assist victims of the blast and was exposed to the death,

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 Desens’ parents, Daniel Desens Sr. and Patricia Desens, are Plaintiffs in the Related Action,
Roth et al. v. Islamic Republic of Iran, Case. No. 1:19-cv-02179, 2023 WL 196577 (D.D.C. Jan.
17, 2023).
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destruction, and pain and suffering of the victims of the blast. Id. Chapman sustained PTSD. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #5. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #3. Id.

       Attack #4 (January of 2005 in Mahadami (Ramadi), Iraq). Plaintiff Alfredo J. Casula
Antunez (“Casula”) is a national of the United States and served in the Marine Corps. Ex. 2.
Sometime in January of 2005, Casula was part of a convoy operating in, or around Mahadami
(Ramadi), Iraq when the convoy was hit with an IED explosion. Id. Casula again sustained a
traumatic brain injury, PTSD, tension headaches, knee conditions, IBS, and tinnitus injuries. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #4. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #4. Id.

        Attack #5 (May 12, 2005, Habbaniyah, Iraq). Plaintiff Daniel Shepherd Jr. (“Shepherd”)
is a national of the United States and served in the Army. Ex. 15. On May 12, 2005, Shepherd
and his unit were on a routine cordon and search mission along MSR Michigan, approximately 14
miles west of Camp Habbaniyah when they came upon a taxicab the driver and pregnant woman
inside. Id. Shepherd’s unit pulled security while Shepherd assessed the pregnant woman. Id. As
Shepherd was assessing the pregnant woman, a Vehicle Borne IED was remote detonated killing
the pregnant woman and taxi driver and knocking Shepherd unconscious. Id. A Bradley arrived
on the scene and transported Shepherd back to Camp Habbaniyah for medical treatment. Id.
Shepherd sustained post-concussive syndrome with migrane headaches, a traumatic brain injury,
tinnitus, IBS, a disc injury, and PTSD. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #5. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #5. Id.

        Attack #6 (September of 2005, Fallujah, Iraq). Plaintiff Eddie L. Ramos Santa
(“Ramos”) is a national of the United States and served in the Army National Guard. Ex. 13. In
September of 2005, Ramos and his unit were on a patrol in a convoy of Humvees near Fallujah,
Iraq when their convoy was suddenly attacked by terrorists with RPGs and a road-side bomb. Id.
The Humvee that Ramos was in took a direct hit which caused Ramos to be slammed around the
Humvee. Id. A translator who was also in the Humvee, was killed during the attack and Ramos
was tasked to pick-up his remains. Id. Ramos sustained tinnitus, PTSD, lumbar strain, and right
and left sided neuropathy. Id.



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        Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates under the Islamic
State of Iraq aided by IRGC-QF and Lebanese Hezbollah lethal aid and material support performed
Attack #6. Ex. 20a. Iran’s material support for and resources to FTO al-Qaeda in Iraq (AQI),
created, trained and directed, by Lebanese Hezbollah was a substantial factor leading to Attack #6.
Id.

        Attack #7 (March 6, 2006, in Fallujah, Iraq). Plaintiff Wayne C. Hermance
(“Hermance”) is a national of the United States and served in the Marine Corps. Ex. 7. On March
6, 2006, Hermance and his unit were part of a three-vehicle convoy that was traveling from an
operation in a village in the outskirts of Fallujah, Iraq in an area called, “the Pocket.” Id. Hermance
was the driver of the third vehicle. Id. On the route was a bridge spanning a section of irrigation
waterway that serviced local farms. Id. When the lead vehicle crossed, and the second vehicle
entered the bridge, a terrorist placed IED was detonated at the rear of the second vehicle. Id. The
explosion slightly lifted the rear of the second vehicle while shrapnel flattened both rear tires. Id.
The third vehicle, which included Hermance, suffered a concussive blast from IED, as well as
shrapnel, debris, and dirt impacts. Id. Hermance sustained a traumatic brain injury, spinal cord
injury at L5-S1, PTSD, headaches, left shoulder strain, cognitive disorder, left and right lower
extremity radiculopathy, and tinnitus. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #7. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #7. Id.

         Attack #8 (April of 2006, Mahmudiyah, Iraq). Plaintiff Danny Troy Perry Jr. (“Perry”)
is a national of the United States and served in the Army. Ex. 11. In April of 2006, Perry and his
unit departed FOB Mahmudiyah on a mission to install a clandestine cellular monitoring device.
Id. Perry and his unit were traveling on “Route Sue” approximately less than 20 miles North,
Northeast of FOB Mahmudiyah when the Humvee that Perry was in was hit by a controlled
detonated IED. Id. The IED went off under the seat he was in, which, among other things caused
him to be crushed by the door of the Humvee and by some ammo cans. Id. After the attack, Perry
received treatment at FOB Mahmudiyah. Id. Perry sustained PTSD and tinnitus. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #8. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #8. Id.

       Attack #9 (June 14, 2007, Al Shurtah, Iraq). Plaintiff Omar G. Vazquez Cordero
(“Vazquez”) is a national of the United States and served in the Army National Guard. Ex. 17.
On June 14, 2007, Vazquez and his unit were performing a clearing mission on Route Aeros,
around Baghdad, Iraq when the convoy stopped to interrogate a possible IED on the right side of
the road in the Al Shurtah, 5th neighborhood of the Rasheed District. Id. As Vazquez and his unit
were waiting on EOD to arrive on the scene, a terrorist fired RPG struck the vehicle Vazquez was

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in, exposing Vazquez to the blast and debris. Id. After the blast, Vazquez was transported to COP
Guerrero for medical attention. Id. Vazquez sustained shrapnel wounds, tinnitus, major post-
traumatic depressive disorder with anxiety (PTSD), and a rash. Id.

        Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by
IRGC-QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah,
and Syrian intelligence support networks performed Attack #9. Ex. 20a. Iran’s material support
for and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese
Hezbollah and Syrian intelligence support networks, was a substantial factor leading to Attack #9.
Id.

        Attack #10 (March 16, 2008 in Jamila, Sadr City, Iraq). Plaintiff Pierre L. Jones
(“Jones”) is a national of the United States and served in the Army. Ex. 8. On March 16, 2008,
Jones and his unit departed Camp Taji in striker vehicles for a patrol mission in a village of Sadr
City, Iraq called Jamila. Id. When they arrived in Jamila, they dismounted for patrol and discovered
a IED placed between two houses. Id. The IED was detonated exposing Jones and his unit to the
blast and shrapnel from the IED explosion and knocking Jones to the ground. Id. After the IED
blast, Jones was transported to Camp Liberty for medical treatment. Id. Jones sustained PTSD,
back injuries, hearing loss, tinnitus, and lung damage. Id.

       Based upon the evidence, the IRGC-QF created, trained, funded, and directed Iraqi Shia
Special Groups (SG) who performed Attack #10. Ex. 20a. Iran’s material support for and
resources to IRGC-QF who created, trained, funded and directed SG, was a substantial factor
leading to Attack #10. Id.

       Attack #11 (October 24, 2008, Taji, Iraq). Plaintiff David Ramirez (“Ramirez”) is a
national of the United States, served in the Army, and was employed by Kellogg, Brown, and
Root, Inc. (“KBR”) as a Logistics Coordinator. Ex. 12. From approximately May of 2008 to
August 31, 2010, Ramirez was deployed to Iraq as a civilian Logistics Coordinator for KBR. Id.
On October 24, 2008, Ramirez was on the flight line at Camp Taji in Iraq loading helicopters with
materials and supplies when another terrorist fired mortar exploded approximately 12 feet from
him, thereby again exposing him to the blast and violently shaking his body. Ex. 12. Ramirez
sustained a traumatic brain injury, PTSD, affective mood disorder, back injury (1 herniated, 3
bulging discs), whiplash in his neck, tendonitis in both shoulders, and hearing loss. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #11. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #11. Id.

        Attack #12 (November of 2010, Kirkuk, Iraq). Plaintiff Cedric M. Brown (“Brown”) is
a national of the United States and served in the Army. Ex. 1. In November of 2010, Brown was
the gunman in a Stryker vehicle that was in a four-vehicle convoy on a clearing mission in, or
around Kirkuk, Iraq when the Stryker vehicle he was in was hit by a terrorist placed IED. Id. The
blast from the IED caused Brown to sustain shrapnel wounds to his face, and injuries to his back,

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shoulders and wrist as he was hanging out of the gunner’s hatch of the Stryker. Id. Brown also
sustained PTSD and a knee condition from the attack. Id.

       Based upon the evidence, FTO al-Qaeda in Iraq (AQI) and its affiliates supported by IRGC-
QF lethal aid and Foreign Fighter (FF) facilitation through IRGC-QF, Lebanese Hezbollah, and
Syrian intelligence support networks performed Attack #12. Ex. 20a. Iran’s material support for
and resources to FTO al-Qaeda in Iraq (AQI), created, trained and directed, by Lebanese Hezbollah
and Syrian intelligence support networks, was a substantial factor leading to Attack #12. Id.

        Attack #13 (February 22, 2004, Thaloqanin, Afghanistan). Plaintiff Suzanne Wheeler
Wallace (“Wallace”) is a national of the United States who was employed by The Louis Berger
Group, Inc. (“LBG”). Ex. 18a. In in late October of 2003, Wallace was assigned by LBG to go to
Afghanistan as a civilian Construction Superintend for a defense contractor to build schools and
health clinics in Afghanistan. Id. On February 22, 2004, Wallace was transported by a helicopter
to the Village of Thaloqanin in the Kandahar Province in Afghanistan to do a construction related
inspection on a clinic in that village. Id. On that same day and after the inspection, Wallace boarded
the helicopter for a trip to the next inspection site when, as the helicopter was lifting off, the
helicopter was attacked by terrorist fired small arms and an RPG. Id. During the attack, Wallace
was struck three times in the torso, and once in her leg by small arms fire. Id. The pilot was killed,
and another passenger was shot five times. Id. After the attack, Wallace was transported to
Kandahar, Afghanistan, to an American Airforce base in Kabul, Afghanistan, Landstuhl Regional
Medical Center in Germany, to a hospital in England, and then back to Texas for medical
treatment. Id. Wallace sustained shrapnel wounds, gunshot wounds, scars to various parts of her
body, severe and permanent injuries to her right leg and back, hearing loss, foot pain, and PTSD.
Id.

Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed Attack
#13. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial factor
leading to Attack #13. Id.

        Attack #14 (April 5, 2005, Parwan Province, Afghanistan). Plaintiff Justin L.
Shellhammer (“Shellhammer”) is a national of the United States and served in the Army. Ex.14.
On April 5, 2005, the Bagram Air Base in Parwan Province, Afghanistan came under mortar attack.
Id. After the attack, Shellhammer as Squad Leader of the Quick Reaction Force (“QRF”), was
tasked with locating and taking care of the mortar threat. Id. When they got to the grid where the
mortars were coming from, Shellhammer and the QRF squad dismounted their trucks and went
down a dirt trail to locate the target. Id. At some point, Shellhammer saw a mortar sticking out of
the ground, and did a controlled halt. Id. Shellhammer injured himself when a blew up causing
Shellhammer to instantly lose his left leg below his knee. Id. Shellhammer also sustained PTSD,
tinnitus, injuries to his lumbar back, right shoulder, right and left lower leg, right hip, and right
and left knee. Id.

        Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed
Attack #14. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial
factor leading to Attack #14. Id.



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        Attack #15 (March of 2006, East Paktika, Afghanistan). Plaintiff Terry De Andre Flood
(“Flood”) is a national of the United States and served in the Army. Ex. 5. In March of 2006,
Flood was getting off a helicopter at FOB Shank in East Paktika, Afghanistan when a terrorist fired
rocket landed five meters from where he was operating, thereby exposing him to the blast and
causing him to fall to the ground. Id. Flood blacked out from the blast and was taken to FOB
Shank to treat for his injuries. Id. Flood sustained a traumatic brain injury and PTSD. Ex. 5.

        Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed
Attack #15. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial
factor leading to Attack #15. Id.

       Attack #16 (October 10, 2010, Puli Alam, Afghanistan). Plaintiff Oren D. Gingrich
(“Gingrich”) is a national of the United States and served in the Army. Ex. 6. On October 10,
2010, Gingrich was walking across “Harball Utah” at FOB Shank in Puli Alam, Afghanistan for
guard duty at CRSP yard, when a terrorist modified mortar round detonated knocking Gingrich to
the ground causing loss of consciousness. Id. Gingrich sustained a traumatic brain injury, PTSD,
seizures, and disc disease. Id.

        Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed
Attack #16. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial
factor leading to Attack #16. Id.

        Attack #17 (October 29, 2010, Kandahar, Afghanistan). Plaintiff Lonnie J. Turney
(“Turney”) is a national of the United States and served in the Navy. Ex.16. On October 29, 2010,
Turney was walking from chow on the Kandahar Airforce base in Kandahar, Afghanistan when a
terrorist fired rocket hit approximately 30 meters away from him. Id. Turney sustained shrapnel
wounds to his right lung, PTSD, injuries to his leg, and hearing loss. Id.

        Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed
Attack #17. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial
factor leading to Attack #17. Id.

        Attack #18 (May 7, 2011, Paktika Province, Afghanistan). Plaintiff Roger A. Lobato Jr.
(“Lobato”) is a national of the United States and served in the Army. Ex. 9a. On May 7, 2011,
Lobato was traveling as a gunner in a lead scout truck coming from dropping off a host Afghan
national at FOB Sharana in the Paktika Province, Afghanistan and heading toward Bagram
Airfield, when a terrorist detonated a 700 to a 1,000-pound IED. Id. During the attack, Lobato
was knocked unconscious for 2-5 minutes. Id. Lobato sustained an open head wound, a traumatic
brain injury, PTSD, tinnitus, and a back injury. Id. Lobato received a Purple Heart for his injuries
from the attack. Id.

        Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed
Attack #18. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial
factor leading to Attack #18. Id.

       Attack #19 (June 28, 2012, Kabul, Afghanistan). Plaintiff Joshua W. Fisher (“Fisher”)

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is a national of the United States and served in the Army. Ex. 4. On June 28, 2012, Fisher was
the top gunner in the lead vehicle of a convoy that departed Bagram Air Base and headed south
through Kabul, and toward FOB Shank in the Logar Province of Afghanistan. Id. Just as the
convoy was outside the city limits of Kabul, the vehicle Fisher was in ran over a terrorist placed
IED causing the vehicle to rollover and Fisher to lose consciousness. Id. After the attack, Fischer
continued in and out of consciousness as he was transported to FOB Shank, Bagram Air Base,
Landstuhl, Germany, and then to Walter Reed National Military Medical Center in Bethesda, MD
for his injuries. Id. Fischer sustained a traumatic brain injury, fractures to right knee and ankle,
adjustment disorder with mixed anxiety (PTSD), scarring, and pain. Ex. 4.

        Based upon the evidence, the IRGC-QF and MOIS Lethal Aid to the Taliban performed
Attack #19. Ex. 20a. Iran’s material support for and resources to the Taliban was a substantial
factor leading to Attack #19. Id.

       This Lawsuit
         On May 12, 2021, Plaintiffs filed their Complaint. [Doc. 1]. That complaint and summons
were delivered to the Iranian Ministry of Foreign Affairs on March 2, 2022. [Doc. 20]. The clerk
issued a default on May 3, 2022. [Doc. 22]. On September 1, 2022, Plaintiffs filed their original
Motion for Default Judgment Regarding Liability and supporting evidence including Plaintiffs’
declarations (Exhibits 1-19) filed under seal, and their expert, Michael Pregent’s declaration and
C.V. (Exhibit 20-21). [Docs. #27-28, 30]. On December 28, 2022, this Court entered an order
denying Plaintiffs’ Motion for Default Judgment without prejudice, and provided Plaintiffs’ leave
to file their Renewed Motion for Default Judgment by March 30, 2023. [Doc. 88]. In the Order,
this Court requested more information – to the extent any exists – regarding the attacks involving
mortars, IEDs, RPGs, or indirect fire where no terrorist group claimed responsibility and there was
no signature Iranian weapon. Specifically, the Court identified Attacks 2, 3, 4, 7, 8, 9, 10, 11, 12,
17, 18, 19. [Doc. 88]. On March 30, 2023, Plaintiffs filed their Renewed Motion and Memorandum
in Support of the Entry of Default Judgment Against the Islamic Republic of Iran (“Iran”). [Doc.
XX].

                                   CONCLUSIONS OF LAW

        Having made findings of fact, the court next answers three questions of law: (1) whether
there is subject matter jurisdiction over the dispute; (2) whether the court has personal jurisdiction
over Iran; and (3) whether Iran is liable for Plaintiffs’ injuries.

       Subject Matter Jurisdiction

        The FSIA provides “the sole basis for obtaining jurisdiction over a foreign state in our
courts.” Argentine Republic v. Amerada Hesse Shipping Corp., 488 U.S. 428, 434 (1989). “Under
the FSIA, a foreign state is immune from the jurisdiction of American courts unless the case falls
within one of a list of statutory exceptions ....” Kilburn v. Socialist People's Libyan Arab
Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004). Pursuant to what is known as the terrorism
exception:


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                 A foreign state shall not be immune from the jurisdiction of courts of the United
                 States or of the States in any case not otherwise covered by this chapter in which
                 money damages are sought against a foreign state for personal injury or death that
                 was caused by an act of torture, extrajudicial killing, aircraft sabotage, hostage
                 taking, or the provision of material support or resources for such an act if such act
                 or provision of material support or resources is engaged in by an official,
                 employee, or agent of such foreign state while acting within the scope of his or
                 her office, employment, or agency.

28 U.S.C. § 1605A(a)(1).

        There is no doubt that Plaintiffs seek money damages against a foreign state. [Doc. 1, ¶2].
Plaintiffs seek to recover for their personal injuries, including “their severe physical injuries,
extreme mental anguish, pain and suffering, loss of solatium, and any economic losses ….” [Doc.
1, ¶269]. In addition, Plaintiffs’ claims are predicated on Iran’s “material support or resources”
for an extrajudicial killing.

        An “extrajudicial killing” is a killing, that is deliberated, and is not authorized by a previous
judgment pronounced by a regularly constituted court or lawfully carried out under authority of a
foreign nation. 28 U.S.C. § 1605A(h)(7); Owens, 864 F.3d at 770. An extrajudicial killing
includes “‘deliberated’ attempts to kill ….” Karcher, 396 F. Supp. 3d at 58 (citing Schertzman
Cohen v. Islamic Republic of Iran, No. 17-cv-1214 (JEB), 2019 WL 3037868, at *3 (D.D.C. July
11, 2019); Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 99 (D.D.C. 2017); Cohen v. Islamic
Republic of Iran, 238 F. Supp. 3d 71, 81 (D.D.C. 2017); and Roberts v. Islamic Republic of Iran,
No. 1:20-CV-1227-RCL, 2022 WL 203540 (D.D.C. Jan. 24, 2022)). As a result, a court has
jurisdiction “where a designated state supplies material resources in an attempt to commit an
extrajudicial killing.” Lee, 518 F. Supp. 3d at 491.

        There is no doubt that Defendant Iran “conducted a war” against America by fueling
terrorist activities designed to kill, kidnap, and or take hostage Americans. 3 “Iran has conducted
this war primarily using the Islamic Revolutionary Guard Corps Qods Force (IRGC-QF) and the
Iranian proxy Lebanese Hezbollah. Both have been engaged in direct military action; and both
have cultivated and supported military action abroad by other proxies, mainly through the use of
terrorist bombings, abductions and assassinations. The killing of U.S. soldiers in Iraq and
Afghanistan serves a strategic goal.” Id.
       According to the “AlQaeda Handbook” 4, a computer file found by Police during a search
of the Manchester home of Anas al-Liby in 2000, the “main mission” of these terrorist activities
3
 “Killing Americans and their Allies: Iran’s Continuing War against the United States and the West”, by Col.
Richard Kemp (ret.), Former Commander of British Forces in Afghanistan, and Major (ret.) Chris Driver-Williams,
Former U.K. Special Forces, https://jcpa.org/killing-americans-allies-irans-war/

4
  “Al Qaeda Manual Drives Detainee Behavior at Guantanamo Bay”, by Donna Miles, American
Forces Press Service, June 29, 2005,
https://web.archive.org/web/20080917194749/http://www.defenselink.mil/news/newsarticle.aspx
?id=16270


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is to “overthrow of the godless regimes and their replacement with an Islamic regime” by “2)
kidnaping enemy personnel, documents, secrets, and arms; 3) assassinating enemy personnel as
well as foreign tourists […]; 7) blasting and destroying the embassies and attacking vital economic
centers; 8) blasting and destroying bridges leading into and out of the cities. […].” 5
        These attacks were all part of Iran’s “war” on Americans. Moreover, the attacks at issue
all involved extrajudicial killings. While Attack 1, 5, 6, and 13, resulted in actual deaths, the
evidence confirms that each and every attack was, at a minimum, an attempt to kill. Furthermore,
a “‘deliberated’ killing is simply one undertaken with careful consideration, not on a sudden
impulse.” Lee, 518 F. Supp. 3d at 492. The evidence confirms that each attack involved deliberate
and strategic attempts to kill. There is simply no evidence to suggest that any of these attacks were
“on a sudden impulse;” rather, they were all part of a terror campaign. Finally, there is no evidence
that the attempted killings were authorized by a judgment of a regularly constituted court or were
lawfully carried out under the authority of a foreign nation.
       The FSIA next requires that an official or agent of Iran provided “material support or
resources” to the people who carried out the attacks at issue. 28 U.S.C. § 1605A(a)(1).

                any property, tangible or intangible, or service, including currency or monetary
                instruments or financial securities, financial services, lodging, training, expert
                advice or assistance, safehouses, false documentation or identification,
                communications equipment, facilities, weapons, lethal substances, explosives,
                personnel ..., and transportation, except medicine or religious materials[.]

28 U.S.C. § 1605A(h)(3) (adopting the definition of 18 U.S.C. § 2339A(b)(1)). The evidence
contains numerous examples of Iran funneling material support and resources through its Ministry
of Intelligence and Security and its Qods Force to terrorist proxies in Iraq and Afghanistan. The
Qods Force “is at least an agent of Iran, if not a part of the government such that individuals
working for [the Qods Force] would be officials or employees of Iran.” Karcher, 396 F. Supp. 3d
at 55. This material support manifested as millions of dollars of funding, training, and advanced
weaponry. Lee, 518 F. Supp. 3d at 493.

        The FSIA also requires that Iran’s “provision of material support or resources” caused
Plaintiffs’ “personal injury or death.” 28 U.S.C. § 1605A(a)(1). The touchstone of proximate
causation is the existence of “‘some reasonable connection between the act ... of the defendant and
the damage which the plaintiff has suffered.’” Owens, 864 F.3d at 794 (quoting Kilburn, 376 F.3d
at 1128). “First, the defendant's actions must be a ‘substantial factor’ in the sequence of events
that led to the plaintiff's injury. Second, the plaintiff's injury must have been ‘reasonably
foreseeable or anticipated as a natural consequence’ of the defendant’s conduct.” Id.

        Plaintiffs have satisfied both components of proximate cause. First, Iran’s support and
resources were “substantial factors” leading to Plaintiffs’ injuries because Iran provided the
funding, training, and weaponry that was used to kill and/or injure Plaintiffs. Second, Plaintiffs’
injuries were also a reasonably foreseeable consequence of Iran’s conduct. It is clear from Iran’s

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    “The AlQaeda Manual” at p. 13, https://www.satp.org/Docs/Document/655.pdf

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financial support and its provision of evolving and ever-more lethal weaponry to insurgents in Iraq
and Afghanistan that Iran reasonably anticipated—and indeed, intended—that its support and
resources would lead to death and serious injury. See Karcher, 396 F. Supp. 3d at 56–57 (finding
harm to plaintiffs was reasonably foreseeable consequence when Iran intended “to kill people, not
just disable vehicles”); see also Owens, 864 F.3d at 797–98 (finding bombings were reasonably
foreseeable consequence of Sudan's provision of “opportunities” to al-Qaeda and Osama bin Laden
(internal quotation marks omitted)). Likewise, the suffering of the families of victims of Iran-
supported attacks was a reasonably foreseeable consequence of Iran's support and resources for
terrorist attacks in Iraq and Afghanistan. See Salzman, 2019 WL 4673761, at *14 (finding “the
related suffering of [victims’] family members” was “reasonably foreseeable”).

         Finally, a court shall hear the claim if: (1) “the foreign country was designated a state
sponsor of terrorism” at the time of the act, due to the act, or within 6 months before the claim was
filed, 28 U.S.C. § 1605A(a)(2)(A)(i)(I); (2) the claimant or the victim was a national, member of
the armed forces, or an employee or contractor of the United States at that time of the act, 28
U.S.C. § 1605A(a)(2)(A)(ii)(I-III); and (3) the claimant afforded the foreign state a reasonable
opportunity to arbitrate when “the act occurred in the foreign state ….” 28 U.S.C. §
1605A(a)(2)(A)(iii). See also Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 13-14 (D.C.
Cir. 2015). Plaintiffs satisfy these requirements too. First, Iran has been continuously designated
as a state sponsor of terrorism since 1984. See Determination Pursuant to Section 6(i) of the Export
Administration Act of 1979—Iran, 49 Fed. Reg. 2,836, 2,836 (Jan. 23, 1984). Second, Plaintiffs
have submitted under seal documentation establishing that they are U.S. nationals and/or served
in the armed forces. See Exs. 1-19. Third, all of the attacks occurred in Iraq or Afghanistan—not
Iran—so the requirement to afford Iran the opportunity to arbitrate is not implicated here.

        The court therefore concludes that Iran’s material support for the extrajudicial killing
involved in the attacks proximately caused Plaintiffs’ injuries, and the court has subject matter
jurisdiction pursuant to 28 U.S.C. § 1605A(a)(1).

       Personal Jurisdiction

         As with subject matter jurisdiction, the court has “an independent obligation ... to satisfy
itself of its personal jurisdiction before entering a default against a missing party.” Kaplan v. Cent.
Bank of the Islamic Republic of Iran, 896 F.3d 501, 512 (D.C. Cir. 2018). Under the FSIA, a court
has personal jurisdiction over a foreign sovereign where the court has subject matter jurisdiction
and “service has been made under” 28 U.S.C. § 1608. 28 U.S.C. § 1330(b). “In other words, under
the FSIA, subject matter jurisdiction plus service of process equals jurisdiction.” GSS Grp. Ltd. v.
Nat'l Port Auth., 680 F.3d 805, 811 (D.C. Cir. 2012) (internal quotation marks omitted).

        The FSIA provides four means for serving a foreign state. See 28 U.S.C. § 1608(a). First,
a plaintiff may affect service “by delivery of a copy of the summons and complaint in accordance
with any special arrangement for service between the plaintiff and the foreign state or political
subdivision.” Id. § 1608(a)(1). If service cannot be made under such an arrangement, then the
plaintiff may affect service “by delivery of a copy of the summons and complaint in accordance
with an applicable international convention on service of judicial documents.” Id. § 1608(a)(2). If
the plaintiff cannot serve the defendant via the first two methods, then the plaintiff must attempt

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to effect service “by sending a copy of the summons and complaint and a notice of suit,” as well
as “a translation of each into the official language of the foreign state, by any form of mail requiring
a signed receipt, to be addressed and dispatched by the clerk of the court to the head of the ministry
of foreign affairs of the foreign state concerned.” Id. § 1608(a)(3). If, after thirty days, service
cannot be affected by this third option, the plaintiff must attempt service through diplomatic
means. To do so, the plaintiff must provide the clerk of court with two copies of the summons and
complaint, and a notice of the suit, along with a translation of each into the official language of the
foreign state, which the clerk of court transmits to the Secretary of State. Id. § 1608(a)(4). The
Secretary of State will then “transmit one copy of the papers through diplomatic channels to the
foreign state and shall send to the clerk of the court a certified copy of the diplomatic note
indicating when the papers were transmitted.” Id.

        Plaintiffs could not serve Iran under the first two mechanisms of service, as the United
States and Iran do not have a “special arrangement” for service and “‘Iran is not party to an
international convention on service of judicial documents.’” Salzman, 2019 WL 4673761, at *15
(quoting Ben-Rafael v. Islamic Republic of Iran, 540 F. Supp. 2d 39, 52 (D.D.C. 2008)). Plaintiffs
therefore first attempted to effect service under the third mechanism—via registered mail with
return receipt requested. [Docs. 10, 11, 13]. When Iran did not respond after 30 days, Plaintiffs
served Iran via diplomatic channels. [Docs. 15-16]. Under 28 U.S.C. § 1608(c)(1), service was
deemed effected “as of the date of transmittal indicated in the certified copy of the diplomatic
note”—in this case, March 2, 2022. [Doc. 20]. Accordingly, this court finds that Plaintiffs properly
effected service on Iran under 28 U.S.C. § 1608(a)(4).

       Because the court concludes that it has subject matter jurisdiction and Plaintiffs have
properly effected service, the court likewise has personal jurisdiction over Iran. See GSS Grp.,
680 F.3d at 811.

       Liability

        Plaintiffs bring their claims under 28 U.S.C. § 1605A(c). [Doc. 1]. Section 1605A(c)
provides that “[a] foreign state that is or was a state sponsor of terrorism” and any of its agents are
liable “for personal injury or death caused by acts described in subsection (a)(1) of that foreign
state, or of an official, employee, or agent of that foreign state, for which the courts of the United
States may maintain jurisdiction under this section for money damages.” 28 U.S.C. § 1605A(c).

       Liability is limited, however, to U.S. nationals, members of the armed forces, employees
or contractors of the U.S. government, and legal representatives of any of those individuals. Id.
The court has already found that Plaintiffs satisfied this requirement.

        Regarding liability, “[t]here is almost total ‘overlap between the elements of § 1605A(c)’s
cause of action and the terrorism exception to foreign sovereign immunity,’ and a plaintiff that
offers proof sufficient to establish a waiver of sovereign immunity under § 1605A(a) has also
established entitlement to relief as a matter of law.” Salzman, 2019 WL 4673761, at *15
(quoting Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 205 (D.D.C. 2017)); see
also Karcher, 396 F. Supp. 3d at 59; Allan v. Islamic Republic of Iran, No. 17-cv-338, 2019 WL
2185037, at *6 (D.D.C. May 21, 2019); Fritz, 320 F. Supp. 3d at 86–87; Lee, 518 F. Supp. 3d at

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495. The court has already concluded that it has subject matter jurisdiction over Plaintiffs’ claims
under the terrorism exception. Accordingly, the court also concludes that Iran is liable for
Plaintiffs’ injuries under 28 U.S.C. § 1605A(c).

        In finding that Iran is liable for Plaintiffs’ injuries, the court also takes judicial notice
pursuant to Federal Rule of Evidence 201(b) of Cabrera et al. v. Islamic Republic of Iran, Case
No. 1:19-cv-03835-JDB and Selig v. Islamic Republic of Iran, 2021 WL 5446870, ---- F.Supp.3d
---- (D.D.C. November 22, 2021). In both cases, the court found Iran had provided material
support to the Taliban in Afghanistan.

        Moreover, FSIA § 1605A(c) requires Plaintiffs “to prove a theory of liability” that justifies
holding Iran liable for their injuries. Oveissi v. Islamic Republic of Iran, 879 F. Supp. 2d 44, 53-
54 (D.D.C. 2012). Courts define the theory of “personal injury” needed to prevail on a § 1605A(c)
claim by looking to “well-established principles of law, such as those found in the Restatement
(Second) of Torts and other leading treatises, as well as those principles that have been adopted by
the majority of state jurisdictions to define the elements and scope of these theories of recovery.”
Oveissi, supra at 54; see also Fraenkel v. Islamic Repub. of Iran, et al., 892 F.3d 348, 353 (D.C.
Cir. 2018). Plaintiffs have presented overwhelming evidence that Iran provided material support
for the attacks that caused Plaintiffs’ harm. These terrorist acts include conduct that satisfies all
the elements of the Plaintiffs’ tort claims for assault, battery, and intentional infliction of emotional
distress, according to the elements articulated by the Restatement (Second) of Torts. Am. Compl.
¶¶ 34-39.

                                  CONCLUSION AND ORDER

        For the foregoing reasons, the court grants Plaintiffs’ renewed motion for default judgment
against Defendant. Having found that Defendant is liable, this case shall proceed to the determine
the damages of Plaintiffs.


SIGNED this _________ day of _______________, 2023.




                                                        ___________________________________
                                                        UNITED STATES DISTRICT JUDGE




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